       Case 1:10-cr-00034-SM      Document 25     Filed 07/08/10   Page 1 of 2




                      UNITED STATES DISTRICT COURT FOR THE
                         DISTRICT OF NEW HAMPSHIRE



United States of America

            v.                                Case No. 10-cr-34-02 SM

Donna Tyler Monroe



                                      ORDER

      The defendant, through counsel, has moved to continue the trial scheduled for

July 20, 2010 for a period of 60 days, citing the need for additional time to prepare

for trial. Co-defendant Stephen Waterman does not object, nor does the government

object to a continuance of the trial date.

      Accordingly, for the above reasons, the court will continue the trial from July

20, 2010 to September 21, 2010. In agreeing to continue the trial, the court finds

pursuant to 18 U.S.C. § 3161(h)(7)(A) that for the above-stated reasons, the ends of

justice served in granting a continuance outweigh the best interests of the public and

the defendants in a speedy trial. The defendant shall file a waiver a speedy not later

than July 16, 2010.
       Case 1:10-cr-00034-SM       Document 25   Filed 07/08/10   Page 2 of 2




      Final Pretrial Conference:       September 10, 2010 at 11:30 AM

      Jury Selection:                  September 21, 2010 at 9:30 AM

      SO ORDERED.



July 8, 2010                           _________________________
                                       Steven J. McAuliffe
                                       Chief Judge

cc: Counsel of Record
    U. S. Probation
    U. S. Marshal




                                          2
